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     Fill in this information to identify the case:

     United States Bankruptcy Court for the:

      SOUTHERN                                    TEXAS
     ____________________ District of _________________
                                            (State)
                                                               11
     Case number (If known): _________________________ Chapter _____                                                                       Check if this is an
                                                                                                                                              amended filing




    Official Form 201
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22

    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
    number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




     1.   Debtor’s name                               CURO Group Holdings Corp.
                                                  ______________________________________________________________________________________________________



                                                   Speedy Group Holdings Corp.
     2.   All other names debtor used             ______________________________________________________________________________________________________
          in the last 8 years                     ______________________________________________________________________________________________________
                                                  ______________________________________________________________________________________________________
          Include any assumed names,
                                                  ______________________________________________________________________________________________________
          trade names, and doing business
          as names                                ______________________________________________________________________________________________________




     3.   Debtor’s federal Employer                   9    0       0   9    3   4   5
                                                  ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                                                                          9 7
          Identification Number (EIN)



     4.   Debtor’s address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                                 of business
                                                  200 W. Hubbard St. Suite 800
                                                  ______________________________________________                 _______________________________________________
                                                  Number     Street                                              Number     Street

                                                  ______________________________________________                 _______________________________________________
                                                                                                                 P.O. Box
                                                  Chicago,                           IL         60654
                                                  ______________________________________________                 _______________________________________________
                                                  City                        State    ZIP Code                  City                      State      ZIP Code


                                                                                                                 Location of principal assets, if different from
                                                                                                                 principal place of business
                                                  ______________________________________________
                                                  County                                                         _______________________________________________
                                                                                                                 Number     Street

                                                                                                                 _______________________________________________

                                                                                                                 _______________________________________________
                                                                                                                 City                      State      ZIP Code




     5.   Debtor’s website (URL)                  www.curo.com
                                                  ____________________________________________________________________________________________________




    Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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                   CURO Group Holdings Corp.
    Debtor        _______________________________________________________                       Case number (if known)_____________________________________
                  Name




     6.   Type of debtor                      
                                              X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify: __________________________________________________________________

                                              A. Check one:
     7.   Describe debtor’s business
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               Railroad (as defined in 11 U.S.C. § 101(44))
                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              
                                              X None of the above


                                              B. Check all that apply:

                                               Tax-exempt entity (as described in 26 U.S.C. § 501)
                                               Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                               Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                  5 ___
                                                 ___ 2 ___
                                                        5 ___
                                                           9

     8.   Under which chapter of the          Check one:
          Bankruptcy Code is the
          debtor filing?                       Chapter 7
                                               Chapter 9
                                              
                                              X Chapter 11. Check all that apply:
          A debtor who is a “small business
          debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
          box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
          § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
          under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
          (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
          “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
          check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                  noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                  less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                  Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                  § 1116(1)(B).

                                                              
                                                              X A plan is being filed with this petition.

                                                              
                                                              X Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              
                                                              X The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                  for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                               Chapter 12




     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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                   CURO Group Holdings Corp.
    Debtor         _______________________________________________________                      Case number (if known)_____________________________________
                   Name



     9.   Were prior bankruptcy cases        
                                             X No
          filed by or against the debtor
          within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                                 MM / DD / YYYY
          If more than 2 cases, attach a
          separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

     10. Are any bankruptcy cases             No
          pending or being filed by a
          business partner or an             
                                             X Yes. Debtor _____________________________________________
                                                            SEE RIDER 1                                                Affiliate
                                                                                                         Relationship _________________________
          affiliate of the debtor?                               Southern District of Texas
                                                       District _____________________________________________ When               __________________
          List all cases. If more than 1,                                                                                        MM / DD / YYYY
          attach a separate list.                      Case number, if known ________________________________



     11. Why is the case filed in this       Check all that apply:
          district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             
                                             X A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


     12. Does the debtor own or have         
                                             X No
          possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
          property or personal property
          that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
          attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                       Other _______________________________________________________________________________


                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?

                                                       No
                                                       Yes. Insurance agency ____________________________________________________________________
                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




                  Statistical and administrative information




     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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                 CURO Group Holdings Corp.
    Debtor      _______________________________________________________                             Case number (if known)_____________________________________
                Name




     13. Debtor’s estimation of              Check one:
         available funds                     
                                             X Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                              1-49                               1,000-5,000                                25,001-50,000
     14. Estimated number of
                                              50-99                             
                                                                                 X 5,001-10,000                               50,001-100,000
         creditors (on a consolidated
                                              100-199                            10,001-25,000                              More than 100,000
         basis)                               200-999

                                              $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     15. Estimated assets (on a
                                              $50,001-$100,000                   $10,000,001-$50 million                   
                                                                                                                             X $1,000,000,001-$10 billion
         consolidated basis)                  $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                              $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
     16. Estimated liabilities (on a
                                              $50,001-$100,000                   $10,000,001-$50 million                   
                                                                                                                             X $1,000,000,001-$10 billion
         consolidated basis)                  $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


                Request for Relief, Declaration, and Signatures


     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
         authorized representative of
                                                 petition.
         debtor
                                                I have been authorized to file this petition on behalf of the debtor.

                                                I have examined the information in this petition and have a reasonable belief that the information is true and
                                                 correct.


                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                              3/25/2024
                                                 Executed on _________________
                                                             MM / DD / YYYY


                                                _____________________________________________
                                                                                                              Douglas Clark
                                                                                                              _______________________________________________
                                                 Signature of authorized representative of debtor             Printed name


                                                 Title _________________________________________
                                                       Chief Executive Officer




     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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                 CURO Group Holdings Corp.
    Debtor      _______________________________________________________                     Case number (if known)_____________________________________
                Name




     18. Signature of attorney
                                           /s/ Sarah Link Schultz
                                              _____________________________________________            Date        3/25/2024
                                                                                                                   _________________
                                              Signature of attorney for debtor                                     MM   / DD / YYYY


                                              Sarah Link Schultz
                                             _________________________________________________________________________________________________
                                             Printed name
                                             Akin  Gump Strauss Hauer & Feld LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                              2300 N. Field Street, Suite 1800
                                             _________________________________________________________________________________________________
                                             Number     Street
                                             Dallas
                                             ____________________________________________________
                                                                                                              TX          75201
                                                                                                             ____________ ______________________________
                                             City                                                            State        ZIP Code
                                              (214) 969-2800                                                  sschultz@akingump.com
                                             ____________________________________                            __________________________________________
                                             Contact phone                                                   Email address


                                              24033047                                                        TX
                                             ______________________________________________________ ____________
                                             Bar number                                             State




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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    Official Form 201A (12/15)
         Fill in this information to identify the case and this filing:
        Debtor Name CURO Group Holdings Corp.
                                                    Southern District of Texas
        United States Bankruptcy Court for the:
                                                                                                      (State)
        Case number (If known):                                                                        Texas

                                  Attachment to Voluntary Petition for Non-Individuals Filing for
                                                 Bankruptcy under Chapter 11

                 1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
             1934, the SEC file number is _______________.
                                             1-38325

                 2. The following financial data is the latest available information and refers to the debtor=s condition on
              January 1, 2024
             ______________.
                   a. Total assets                                                              $ 1,777,476,000.00

                   b. Total debts (including debts listed in 2.c., below)                       $ 2,230,687,000.00
                   c. Debt securities held by more than 500 holders
                                                                                                                                 Approximate
                                                                                                                                 number of
                                                                                                                                 holders:

                   secured        G   unsecured   G     subordinated       G     $
                   secured        G   unsecured   G     subordinated       G     $
                   secured        G   unsecured   G     subordinated       G     $
                   secured        G   unsecured   G     subordinated       G     $
                   secured        G   unsecured   G     subordinated       G     $

                   d. Number of shares of preferred stock                                                                                   0
                   e. Number of shares common stock                                                                              41,470,328


                   Comments, if any:



                   3. Brief description of debtor=s business: The Debtor is a leading provider of direct-to-consumer loans.



                 4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
             5% or more of the voting securities of debtor:
               Doug Rippel; OCO Capital GP, LLC; Chad Faulkner; Andrew Frawley; Chris Masto; David Kircheimer; Mike McNight;
              Gillian Van Schaick; Issac Vaughn; Douglas Clark; Daniel Kirsche; Pater Kalen




             Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                                             RIDER 1

                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                   As of the date hereof, each of the entities listed below (the “Debtors”) filed a petition in
            the Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of
            the United States Code. The Debtors will move for joint administration of these cases under the
            case number assigned to the chapter 11 case of CURO Group Holdings Corp.

                          1. CURO Group Holdings Corp.
                          2. Covington Credit of Texas, Inc.
                          3. Curo Financial Technologies Corp.
                          4. Curo Intermediate Holdings Corp.
                          5. Curo Management, LLC
                          6. Curo Collateral Sub, LLC
                          7. CURO Ventures, LLC
                          8. CURO Credit, LLC
                          9. Ennoble Finance, LLC
                          10. Ad Astra Recovery Services, Inc.
                          11. Attain Finance, LLC
                          12. First Heritage Credit, LLC
                          13. First Heritage Credit of Alabama, LLC
                          14. First Heritage Credit of Louisiana, LLC
                          15. First Heritage Credit of Mississippi, LLC
                          16. First Heritage Credit of South Carolina, LLC
                          17. First Heritage Credit of Tennessee, LLC
                          18. SouthernCo, Inc.
                          19. Heights Finance Holding Co.
                          20. Southern Finance of South Carolina, Inc.
                          21. Southern Finance of Tennessee, Inc.
                          22. Covington Credit of Alabama, Inc.
                          23. Quick Credit Corporation
                          24. Covington Credit, Inc.
                          25. Covington Credit of Georgia, Inc.
                          26. Heights Finance Corporation (IL)
                          27. Heights Finance Corporation (TN)
                          28. LendDirect Corp.
                          29. CURO Canada Corp.
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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                                HOUSTON DIVISION

                                                                                 )
                In re:                                                           ) Chapter 11
                                                                                 )
                CURO Group Holdings Corp.                                        ) Case No. 24-[_____] ()
                                                                                 )
                                                   Debtor.                       ) (Joint Administration Requested)
                                                                                 )


                                              LIST OF EQUITY SECURITY HOLDERS1

                                    Shareholder                              Approximate Percentage of Shares Held

                   Doug Rippel, individually and with Rippel                                      16.71%
                                Holdings, LLC

                     Mike McKnight, individually and with                                         14.08%
                          McKnight Holdings, LLC

                 Chad Faulkner, individually and with Related                                     10.86%
                                   Entities

                     Long Focus Capital Management, LLC                                            7.25%

                              OCO Capital GP LLC                                                   6.28%




            1
                  This list reflects holders of five percent or more of CURO Group Holdings Corp.’s common stock. This list
                  serves as the disclosure required to be made by the Debtors pursuant to Rule 1007 of the Federal Rules of
                  Bankruptcy Procedure (the “Bankruptcy Rules”). By the Debtors’ Emergency Motion for Entry of an Order (I)
                  Waiving the Requirement to File a List of and Provide Notice Directly to Equity Security Holders; (II) Authorizing
                  the Debtors to Redact Certain Personally Identifiable Information; (III) Approving the Form and Manner of the
                  Notice of Commencement; (IV) Waiving the Requirement that the Debtors File Schedules and SOFAS; (V)
                  Extending the Time by Which the Debtors File 2015.3 Financial Reports and (VI) Granting Related Relief filed
                  contemporaneously herewith, the Debtors are requesting a waiver of the requirement under Bankruptcy Rule 1007
                  to file a list of all of their equity security holders.
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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION

                                                                       )
             In re:                                                    ) Chapter 11
                                                                       )
             CURO Group Holdings Corp.                                 ) Case No. 24-[_____] ()
                                                                       )
                                              Debtor.                  ) (Joint Administration Requested)
                                                                       )


                                         CORPORATE OWNERSHIP STATEMENT

                    Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
            following are corporations, other than a government unit, that directly or indirectly own 10% or more of
            any class of the Debtor’s equity interest:

                                 Shareholder                        Approximate Percentage of Shares Held

                Doug Rippel, individually and with Rippel                             16.71%
                             Holdings, LLC

                   Mike McKnight, individually and with                               14.08%
                        McKnight Holdings, LLC

               Chad Faulkner, individually and with Related                           10.86%
                                 Entities
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      Fill in this information to Identify the case:

      Debtor Name: CURO Group Holdings Corp.
                                                                                                                                              Check if this is an
      United States Bankruptcy Court for the:          Southern District of Texas                                                             amended filing
      Case Number (If known):




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if        Deduction for      Unsecured claim
                                                                                                                    partially secured      value of
                                                                                                                                           collateral or
                                                                                                                                           setoff

  1       SPARROW PURCHASER, LLC, AND          CONTACT: MICHAEL J.            LITIGATION                CUD                                                      $27,000,000.00
          CCF INTERMEDIATE HOLDINGS LLC        DURBIN & SEAN OBRIEN
          7001 POST ROAD                       MDURBIN@CCFI.COM;
          SUITE 200                            SOBRIEN@CCFI.COM
          DUBLIN, OH 43016
  2       GAYHARDT, DONALD                     EMAIL ON FILE                  DEFERRED                                                                            $4,104,017.90
          ADDRESS ON FILE                                                     COMPENSATION
                                                                              PLAN/SEVERANCE
  3       GALILEO PROCESSING INC               CONTACT: LEGAL OFFICER         TRADE VENDOR               D                                                        $1,050,000.00
          6510 S. MILLROCK DRIVE               LEGAL@GALILEO-FT.COM
          SUITE 300
          SALT LAKE CITY, UT 84121
  4       COOMBS, ANTHONY                      EMAIL ON FILE                  SEVERANCE                                                                             $773,873.06
          ADDRESS ON FILE
  5       GOLDPOINT SYSTEMS (GPS)              CONTACT: JEREMY WHITE, TRADE VENDOR                                                                                  $713,582.84
          1525 WEST 820 NORTH                  PRESIDENT & CHIEF
          PO BOX 51427                         EXECUTIVE OFFICER
          PROVO, UT 84601                      PHONE: (801) 361-9258
                                               JEREMYW@GOLDPOINTSYST
                                               EMS.COM
  6       THOMAS IV, EUGENE                    EMAIL ON FILE                  DEFERRED                                                                              $596,840.94
          ADDRESS ON FILE                                                     COMPENSATION
                                                                              PLAN
  7       MILESTONE VENTURES LLC               CONTACT: ADAM CURTIN           ACQUISITION                                                                           $526,905.76
          105 WHITSETT STREET                  PHONE: 864-552-1444            PROCEEDS
          SUITE B                              ACURTIN@MILESTONEPART
          GREENVILLE, SC 29601                 NERS.COM




Official Form 204        Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                          Page 1
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  Debtor: CURO Group Holdings Corp.                                                          Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction for      Unsecured claim
                                                                                                           partially secured      value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  8     THE BANK OF MISSOURI               CONTACT: ADRIAN BREEN,   TRADE VENDOR                                                                           $500,000.00
        906 N KINGSHIGHWAY                 CHIEF EXECUTIVE OFFICER,
        PERRYVILLE, MO 63775               PRESIDENT & EXECUTIVE
                                           CHAIRMAN
                                           PHONE: 888-547-6541
                                           FAX: 573-547-1826
                                           MROBERTSON@BANKOFMIS
                                           SOURI.COM;MBARKER@BAN
                                           KOFMISSOURI.COM
  9     CLOUDREACH, INC.                   CONTACT: MADDY            TRADE VENDOR                                                                          $495,111.94
        1230 6TH AVENUE                    GOLDFARB
        19TH FLOOR, SUITE 1906             MADDY.GOLDFARB@CLOUD
        NEW YORK, NY 10020                 REACH.COM
  10    ALLIED BUSINESS SYSTEMS, LLC       CONTACT: CHRIS HALL,     TRADE VENDOR                D                                                          $406,391.00
        (ABS)                              PRESIDENT, CHIEF
        4848 MERCER UNIVERSITY DR          EXECUTIVE OFFICER &
        MACON, GA 31210                    CHAIRMAN
                                           PHONE: 800-727-7534
                                           FAX: 866-386-6056
                                           CHRIS.HALL@ALLIEDBIZ.COM


  11    BUTTS, THOMAS                      EMAIL ON FILE             DEFERRED                                                                              $403,685.29
        ADDRESS ON FILE                                              COMPENSATION
                                                                     PLAN
  12    DELL MARKETING L.P.                CONTACT: MICHAEL S. DELL, TRADE VENDOR                                                                          $340,529.45
        ONE DELL WAY                       CHIEF EXECUTIVE OFFICER,
        ROUND ROCK, TX 78682               CHAIRMAN OF THE BOARD
                                           PHONE: 512-723-0373
                                           RAVI.TEGA.KONDA@DELLTEA
                                           M.COM


  13    EQUIFAX CREDIT MARKETING           CUST.SERV@EQUIFAX.COM     TRADE VENDOR                                                                          $327,170.29
        SERVICES
        PO BOX 945510
        CHARLOTTE, NC 28272-1221
  14    GUIDEPOINT SECURITY LLC            CONTACT: JAKE CARRUTHERS TRADE VENDOR                                                                           $260,774.72
        2201 COOPERATIVE WAY               PHONE: 877-889-0132
        SUITE 225                          JAKE.CARRUTHERS@GUIDEP
        HERNDON, VA 20171                  OINTSECURITY.COM


  15    DIRECT MARKETING SOLUTIONS INC PHONE: 503-281-1400           TRADE VENDOR                                                                          $256,441.13
        8534 NE ALDERWOOD RD           JMARTIN@TEAMDMS.COM
        PORTLAND, OR 97220


  16    GITLER, PHILIP MICHAEL             EMAIL ON FILE             SEVERANCE                                                                             $253,076.84
        ADDRESS ON FILE
  17    NATIONAL CREDIT ADJUSTERS LLC      PHONE: 888-768-0674       TRADE VENDOR                                                                          $241,501.01
        327 WS 4TH AVE                     INFO@NCAKS.COM
        HUTCHINSON, KS 67501
  18    OPTINMIZELY NORTH AMERICA, INC CONTACT: GENERAL       TRADE VENDOR                                                                                 $225,384.11
        119 5TH AVE 7TH FLOOR          COUNSEL
        NEW YORK, NY 10003             PHONE: 603-594-0249
                                       GENERALCOUNSEL@OPTIMIZ
                                       ELY.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 2
                          Case 24-90165 Document 1 Filed in TXSB on 03/25/24 Page 12 of 48
  Debtor: CURO Group Holdings Corp.                                                            Case Number (if known):
   Name of creditor and complete mailing   Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                       professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                       services, and         or disputed     setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                             Total claim, if        Deduction for      Unsecured claim
                                                                                                             partially secured      value of
                                                                                                                                    collateral or
                                                                                                                                    setoff

  19    CLARK, DOUGLAS                     EMAIL ON FILE               TRANSACTION                                                                           $202,309.21
        ADDRESS ON FILE                                                BONUS
  20    DARNELL, CHRISTOPHER               EMAIL ON FILE               DEFERRED                                                                              $186,301.54
        ADDRESS ON FILE                                                COMPENSATION
                                                                       PLAN
  21    NORDIS TECHNOLOGIES                CONTACT: BRYAN TENNROEK TRADE VENDOR                                                                              $161,356.29
        4401 NW 124TH AVE                  PHONE: 954-323-5500
        CORAL SPRINGS, FL 33065            BTENBROEK@NORDISTECHN
                                           OLOGIES.COM


  22    MICROSOFT LICENSING, GP        PHONE: 800-642-7676             TRADE VENDOR                                                                          $152,847.58
        C/O BANK OF AMERICA            FAX: 775-826-0531
        1950 N STEMMONS FRWY, STE 5010
        LB 842467
        DALLAS, TX 75207
  23    GDS LINK HOSTING SOLUTIONS LLC     CONTACT: LISA BONALLE,      TRADE VENDOR               D                                                          $138,250.00
        5307 E MOCKINGBIRD LN, STE 1001    CHIEF EXECUTIVE OFFICER
        DALLAS, TX 75206                   PHONE: 214-256-5916
                                           FAX: 214-295-2853
                                           INFO@GDSLINK.COM
  24    BRINKS CANADA LIMITED              PHONE: 1-800-570-2867       TRADE VENDOR                                                                          $133,338.24
        P.O. BOX 4590                      BRINKSNCS@BRINKSINC.CO
        TORONTO, ON M5W 7B1                M
        CANADA
  25    ALVARIA (NOBLE SYSTEMS             CONTACT: BRIAN WHITE        TRADE VENDOR                                                                          $128,589.56
        CORPORATION)                       BRIAN.WHITE@ALVARIA.CO
        1200 ASHWOOD DR. - SUITE 300       M
        ATLANTA, GA 30338
  26    SUN LIFE FINANCIAL                 CONTACT: ELLIOTT BACKES,    TRADE VENDOR                                                                          $126,535.03
        PO BOX 11010 STATION CV            ACCOUNT EXECUTIVE
        MONTREAL, QC H3T 4T9               PHONE: 514-866-6411
        CANADA                             PREMIUMSTATEMENTS@SU
                                           NLIFE.COM;ELLIOTT.BACKES
                                           @SUNLIFE.COM
  27    LEXISNEXIS RISK SOLUTIONS INC      CONTACT: CHIEF LEGAL        TRADE VENDOR                                                                          $102,620.22
        28330 NETWORK PL                   OFFICER
        CHICAGO, IL 60673-1283             FAX: 678-694-5939
                                           LNBILLING@LEXISNEXISRISK.
                                           COM
  28    NETH, RANDALL                      EMAIL ON FILE               DEFERRED                                                                                $97,025.14
        ADDRESS ON FILE                                                COMPENSATION
                                                                       PLAN
  29    MOREDIRECT INC                     CONTACT: RUSSELL MADRIS     TRADE VENDOR                                                                            $94,020.73
        DBA CONNECTION                     PHONE: (561)237-3300
        1001 YAMATO RD STE 200             SIMPLIFYIT@MOREDIRECT.C
        BOCA RATON, FL 33431-4403          OM
  30    PELL, FRANKLIN                     EMAIL ON FILE               SEVERANCE                                                                               $88,846.14
        ADDRESS ON FILE




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                     Page 3
DocuSign Envelope ID: A3FD9AC9-3820-438D-BCA6-C0E6A9E0DA93
                          Case 24-90165 Document 1 Filed in TXSB on 03/25/24 Page 13 of 48

     Fill in this information to identify the case and this filing:


                    CURO Group Holdings Corp.
     Debtor Name __________________________________________________________________
                                                Southern                            Texas
     United States Bankruptcy Court for the: ______________________ District of __________
                                                                                   (State)
     Case number (If known):    _________________________




    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
    this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
    and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
    document, and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                Declaration and signature



             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
             another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule ____

             
             X Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                          Corporate Ownership Statement, List of Equity Security Holders
             X Other document that requires a declaration__________________________________________________________________________________




            I declare under penalty of perjury that the foregoing is true and correct.

                               3/25/2024
            Executed on ______________                            _________________________________________________________________________
                               MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                      Douglas Clark
                                                                    ________________________________________________________________________
                                                                    Printed name

                                                                      Chief Executive Officer
                                                                    ______________________________________
                                                                    Position or relationship to debtor



    Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                    Execution Version


                OMNIBUS ACTION BY WRITTEN CONSENT
 OF THE SOLE DIRECTOR, THE SOLE MANAGER, THE BOARD OF DIRECTORS,
   THE BOARD OF MANAGERS AND THE SOLE MEMBER, AS APPLICABLE,
              OF THE ENTITIES SET FORTH ON SCHEDULE I


                                                21 2024
                                         March ____,

       The undersigned:

         (A) the sole director, the sole manager, all of the members of the board of directors, and all
of the members of the board of managers, as applicable (collectively, the “Boards”) of: (1) CURO
Group Holdings Corp., a Delaware corporation (“CURO”), (2) Curo Financial Technologies Corp.,
a Delaware corporation, (3) Curo Intermediate Holdings Corp., a Delaware corporation (“CIHC”),
(4) Ad Astra Recovery Services, Inc., a Nevada corporation, (5) SouthernCo, Inc., a Delaware
corporation, (6) Heights Finance Holding Co., a South Carolina corporation, (7) Southern Finance
of South Carolina, Inc., a South Carolina corporation, (8) Southern Finance of Tennessee, Inc., a
Tennessee corporation, (9) Covington Credit of Alabama, Inc., an Alabama corporation, (10)
Quick Credit Corporation, a South Carolina corporation, (11) Covington Credit, Inc., an Oklahoma
corporation, (12) Covington Credit of Georgia, Inc., a Georgia corporation, (13) Covington Credit
of Texas, Inc., a Texas corporation, (14) Heights Finance Corporation, an Illinois corporation, (15)
Heights Finance Corporation, a Tennessee corporation, (16) Curo Credit, LLC, a Delaware limited
liability company, (17) Attain Finance, LLC, a Nevada limited liability company, (18) Curo
Management, LLC, a Nevada limited liability company, (19) First Heritage Credit, LLC, a
Mississippi limited liability company, (20) First Heritage Credit of Alabama, LLC, a Mississippi
limited liability company, (21) First Heritage Credit of Louisiana, LLC, a Louisiana limited
liability company, (22) First Heritage Credit of Mississippi, LLC, a Mississippi limited liability
company, (23) First Heritage Credit of South Carolina, LLC, a Mississippi limited liability
company, (24) First Heritage Credit of Tennessee, LLC, a Mississippi limited liability company,
(25) LendDirect Corp., an Alberta corporation, and (26) Curo Canada Corp., an Ontario
corporation (the entities in items (25) and (26), the “Canadian Subsidiaries”);

         (B) CIHC, being the sole member of (1) Curo Credit, LLC, a Delaware limited liability
company, (2) Attain Finance, LLC, a Nevada limited liability company, (3) Curo Management,
LLC, a Nevada limited liability company, (4) Curo Collateral Sub, LLC, a Delaware limited
liability company, (5) CURO Ventures, LLC, a Delaware limited liability company, and (6)
Ennoble Finance, LLC, a Delaware limited liability company;

(each of (A) through (B), the “Governing Bodies” and, each individually, a “Governing Body”)
do hereby consent and agree in writing pursuant to (i) the applicable governing documents of the
Companies (as amended, restated, amended and restated, supplemented or otherwise modified to
date, the “Operating Agreements”) and (ii) the Delaware General Corporation Law, the Delaware
Limited Liability Company Act, the applicable provisions of the Nevada Revised Statutes, the
South Carolina Business Corporation Act of 1988, the South Carolina Uniform Limited Liability
Company Act of 1996, the Tennessee Business Corporation Act, the Tennessee Revised Limited
Liability Company Act, the Alabama Business Corporation Law, the Oklahoma General
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Corporation Act, the Georgia Business Corporation Code, the Texas Business Organizations Code,
the Illinois Business Corporation Act of 1983, the Revised Mississippi Limited Liability Company
Act, the Louisiana Limited Liability Company Law, the Business Corporations Act (Alberta) and
the Business Corporations Act (Ontario), as applicable, to the adoption of the following resolutions
in lieu of a meeting of the applicable Governing Bodies, the call and notice of which are hereby
expressly waived, and authorize the taking of all actions contemplated hereby. The entities listed
on Schedule I hereto are referred to herein as the “Companies” and each, a “Company”.

        WHEREAS, each Governing Body has reviewed and considered the materials presented
by management and the financial and legal advisors to the Companies, including, but not limited
to, King & Spalding LLP (“KS”) and Akin Gump Strauss Hauer & Feld LLP (“Akin”), legal
counsel to the Companies, Cassels Brock & Blackwell LLP, Canadian legal counsel to the
Companies (“Cassels”), and Oppenheimer & Co. Inc. (“Oppenheimer”), investment banker to the
Companies, on the date hereof regarding, among other things, the liabilities, assets and liquidity
of each Company and the other direct and indirect subsidiaries of CURO, the strategic alternatives
available to each Company and the potential impact (financial and otherwise) of the foregoing on
each Company’s respective businesses;

         WHEREAS, in connection with each Governing Body’s consideration of such liabilities,
assets, liquidity, strategic alternatives and the impact thereof, each Governing Body has reviewed
and evaluated the potential financing and/or restructuring alternatives available to each Company,
including, but not limited to: (i) an equity or debt (including debtor-in-possession) financing; (ii)
a reorganization; (iii) a merger, recapitalization, refinancing, amendment or exchange of the
Companies’ existing indebtedness or any of the Companies’ capital stock, in each case, whether
in-court or out-of-court and/or whether pursuant to a pre-negotiated or pre-planned restructuring
plan or proposal or otherwise; (iv) a sale of some or all of the assets of the Companies; (v) the
filing of voluntary petitions and seeking relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”); (vi) seeking relief pursuant to the
Companies’ Creditors Arrangement Act (Canada) R.S.C. 1985, c. C-36 as amended (the “CCAA”)
or the Bankruptcy and Insolvency Act (Canada) 1985, c. B-3; (vii) any combination of the
foregoing; and (viii) any other strategic alternatives available to each Company (collectively, the
“Restructuring Alternatives”);

        WHEREAS, each Governing Body has had the opportunity to consult with management
and the financial and legal advisors to the Companies and to fully consider each of the strategic
alternatives available to such Company, including, but not limited to, the Restructuring
Alternatives;

        WHEREAS, in contemplation of the foregoing, the Companies and the Companies’
advisors have engaged with certain respective creditors of the Companies and other parties in
interest in negotiating certain restructuring transactions (the “Restructuring Transactions”) on the
terms and subject to the conditions set forth in the Restructuring Support Agreement and the
restructuring term sheet and other materials attached thereto, substantially in the form attached
hereto as Exhibit A (the “Restructuring Support Agreement”), by and among (i) each of the
Companies and (ii) non-affiliated holders of, or investment advisors, sub-advisors, or managers of
discretionary accounts that hold, Prepetition 1L Term Loan Claims, Prepetition 1.5L Notes Claims



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and Prepetition 2L Notes Claims in the Companies (the “Consenting Stakeholders”);

       WHEREAS, capitalized terms used but not otherwise defined in these resolutions shall
have the meanings ascribed to them in the Restructuring Support Agreement;

        WHEREAS, the Companies and the Consenting Stakeholders would agree pursuant to the
Restructuring Support Agreement, among other things, for the Companies to effectuate the
Restructuring Transactions by commencing voluntary cases under chapter 11 of the Bankruptcy
Code in the United States Bankruptcy Court for the Southern District of Texas, Houston Division
(the “Bankruptcy Court”) and seeking recognition in Canada of the applicable chapter 11 cases
and relief obtained therein by commencing a proceeding under Part IV of the CCAA in the Ontario
Superior Court of Justice (Commercial List) (the “Canadian Court”);

        WHEREAS, each Governing Body, upon the advice of the Companies’ advisors and after
careful consideration of all of the facts and circumstances relating to each of the strategic
alternatives available to the Companies, including, but not limited to, the Restructuring
Alternatives, has determined that it is advisable and in the best interests of the Companies, their
respective creditors, employees, equityholders and other parties in interest to enter into the
Restructuring Support Agreement and to seek to consummate the transactions contemplated
thereby, subject to the terms thereof;

         WHEREAS, in connection with the implementation of the Restructuring Transactions and
pursuant to the terms of the Restructuring Support Agreement, it is proposed that the Companies
obtain secured debtor-in-possession financing on terms consistent with the Debtor-in-Possession
Credit Facility Term Sheet attached hereto as Exhibit B (the “DIP Facility Term Sheet” and the
facility contemplated thereby, the “DIP Facility”), which DIP Facility Term Sheet shall be agreed
to by CURO, as borrower (“Borrower”), the other Companies (excluding the Canadian
Subsidiaries), as guarantors (collectively such other Companies, the “Guarantors”), the
administrative agent and the collateral agent thereunder (together, the “DIP Agent”) and the
lenders providing financing thereunder (the “DIP Lenders”);

        WHEREAS, in connection with the DIP Facility, it is proposed that the Guarantors will
guarantee the obligations of Borrower in accordance with the DIP Facility Term Sheet and each
Company will grant to the DIP Agent and the DIP Lenders liens on, and continuing security
interests in, substantially all of such Company’s property, whether now or hereafter acquired, to
secure the Companies’ obligations under the DIP Facility in accordance with the DIP Facility Term
Sheet and any other agreements that may be entered into in connection therewith, including a credit
agreement, documents, instruments, financing statements, filings and/or certificates related thereto
or that may be necessary or desirable to effect the transactions contemplated thereby (together with
all amendments, amendments and restatements, supplements, waivers, renewals, extensions,
modifications, substitutions and replacements thereto and thereof, the “DIP Facility Documents”);

       WHEREAS, certain of the Companies are party to existing loan receivables securitization
programs (collectively, the “Securitization Facilities”) with or relating to the following Company
subsidiaries which will not be party to the Chapter 11 Cases: (i) First Heritage Financing I, LLC,
a Delaware limited liability company, (ii) Heights Financing I, LLC, a Delaware limited liability



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company, (iii) Heights Financing II LLC, a Delaware limited liability company, (iv) Curo Canada
Receivables Limited Partnership, an Ontario limited partnership, (v) Curo Canada Receivables II
Limited Partnership, an Ontario limited partnership, (vi) Curo Canada Receivables GP Inc., an
Ontario corporation, and (vii) Curo Canada Receivables II GP Inc., an Ontario corporation
(collectively, the “SPV Entities”, and the agreements, amendments, restatements, supplements,
instruments, waivers, consents and other documents entered into in connection with the
Securitization Facilities, the “Securitization Transaction Documents”); and

        WHEREAS, each Governing Body has determined, in the business judgment of such
Governing Body, that it is advisable and in the best interests of the Companies, their respective
creditors and other parties in interest for each applicable Company to continue the Securitization
Facilities in the ordinary course of business as contemplated by the Securitization Transaction
Documents, notwithstanding the Restructuring Transactions and the Chapter 11 Cases, and, as
necessary, to amend the Securitization Transaction Documents and/or waive or obtain the waiver
of certain provisions thereunder in connection with the Restructuring Transactions and the Chapter
11 Cases, in each case solely to the extent permitted or not prohibited by the terms of the Operating
Agreements or the Securitization Transaction Documents.

                       RESTRUCTURING SUPPORT AGREEMENT

        NOW, THEREFORE, BE IT RESOLVED, that it is appropriate and in the best interests
of the Companies and their respective creditors, employees, equityholders and other parties in
interest for each of the Companies to enter into and execute the Restructuring Support Agreement
and to seek to consummate the transactions contemplated thereby, subject to the terms thereof;

       RESOLVED FURTHER, that the form, terms and provisions of the Restructuring
Support Agreement and the Companies’ execution and delivery of the Restructuring Support
Agreement and the Companies’ performance thereunder, hereby are, in all respects, authorized,
approved, adopted and ratified; and

       RESOLVED FURTHER, that the Chief Executive Officer, President, Chief Financial
Officer, Treasurer, Secretary and any other duly elected or appointed officer of each Company, as
applicable (the “Authorized Persons”), are, and each of them hereby is, authorized, empowered
and directed on behalf of, and in the name of, the Companies to execute and deliver to the
appropriate parties and to perform each Company’s obligations under the Restructuring Support
Agreement, including, but not limited to, the execution, delivery and performance of any
agreements, documents, instruments or certificates constituting exhibits, annexes or schedules to,
or required to be executed pursuant to, the Restructuring Support Agreement, in each case, with
such changes therein or additions thereto as the Authorized Person executing the same shall
approve and the execution thereof by any such Authorized Person to be conclusive evidence of
such approval of such changes or additions.

                                     CHAPTER 11 FILING

       RESOLVED FURTHER, that in the business judgment of each Governing Body and
based on the recommendation from management and the financial and legal advisors of the



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Companies, it is desirable and in the best interests of each Company, its creditors and other parties
in interest that such Company shall be, and hereby is, authorized to file or cause to be filed a
voluntary petition for relief (each, a “Chapter 11 Case” and, collectively, the “Chapter 11 Cases”)
under the provisions of chapter 11 of the Bankruptcy Code in the Bankruptcy Court; and

       RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed to execute and file on behalf of each Company all petitions,
schedules, motions, objections, replies, applications, pleadings, lists, documents and other papers,
and to take any and all action that such Authorized Persons deem necessary, appropriate or
desirable to obtain such relief, including, without limitation, any action necessary, appropriate or
desirable to maintain the ordinary course operation of such Company’s businesses or to assist such
Company in the Chapter 11 Cases and in carrying out its duties under the provisions of the
Bankruptcy Code.

                           CCAA RECOGNITION APPLICATION

        RESOLVED FURTHER, that in the business judgment of each Governing Body and
based on the recommendation from management and the financial and legal advisors of the
Companies, it is desirable and in the best interests of each Company, its creditors and other parties
in interest that CURO shall be authorized to serve as the proposed foreign representative of itself
and the Canadian Subsidiaries (and such other Company as may be necessary) (the “Foreign
Representative”) and shall be, and hereby is, authorized to file or cause to be filed an application
for recognition in Canada under the CCAA of the Chapter 11 Cases of the Canadian Subsidiaries
(and the cases of such other Companies as may be necessary) and to seek such other insolvency or
bankruptcy relief in Canada as may be necessary (the “Canadian Recognition Proceedings”); and

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed to execute and file on behalf of the Foreign Representative
and Canadian Subsidiaries (or such other Company, as applicable) all petitions, schedules,
motions, objections, replies, applications, pleadings, lists, documents and other papers, and to take
any and all action that such Authorized Persons deem necessary, appropriate or desirable to obtain
such relief, including, without limitation, any action necessary, appropriate or desirable to maintain
the ordinary course operation of such Company’s businesses or to assist such Company in the
Canadian Recognition Proceedings and in carrying out its duties under the provisions of the
CCAA.

  DIP FACILITY TERM SHEET AND DIP FACILITY; ADEQUATE PROTECTION;
                         CASH COLLATERAL

        RESOLVED FURTHER, that the terms governing the DIP Facility as set forth in the DIP
Facility Term Sheet are in the best interests of each Company and each Company’s creditors,
employees, equityholders and other interested parties and it is in the best interests of each Company
and each Company’s creditors, employees, equityholders and other interested parties that (i)
Borrower make the borrowings contemplated by the DIP Facility, (ii) each Guarantor guarantee
the obligations of Borrower thereunder and the obligations specified therein, (iii) each Company
grant to the DIP Agent and the DIP Lenders a lien on and a continuing security interest in



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substantially all of such Company’s property as contemplated by the DIP Facility Term Sheet and
(iv) each Company consummate the transactions contemplated by the DIP Facility, including but
not limited to, the execution, delivery and performance of the obligations under the DIP Facility
Documents;

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to obtain the
DIP Facility on the terms set forth in the DIP Facility Term Sheet and each other DIP Facility
Document, including, but not limited to, the execution, delivery and performance of any
agreements, documents, instruments or certificates constituting exhibits, annexes or schedules to,
or required to be executed pursuant to, the DIP Facility Documents, in each case, with such changes
therein or additions thereto as the Authorized Person executing the same shall approve and the
execution thereof by any such Authorized Person to be conclusive evidence of such approval of
such changes or additions;

        RESOLVED FURTHER, that the Companies shall provide certain adequate protection
to the Companies’ prepetition secured lenders, including adequate protection replacement liens,
adequate protection superpriority claims and the receipt of payment of fees and expenses as
adequate protection (the “Adequate Protection Obligations”);

       RESOLVED FURTHER, that the Companies as debtors and debtors in possession under
the Bankruptcy Code be, and hereby are, authorized to negotiate and incur the Adequate Protection
Obligations, grant liens, make periodic payments and to undertake any and all related transactions
on substantially the same terms as contemplated under the DIP Facility Documents (collectively,
the “Adequate Protection Transactions”);

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies, as debtors
and debtors in possession, to take such actions as in his or her reasonable discretion is determined
to be necessary, desirable or appropriate and execute the Adequate Protection Transactions,
including delivery of (i) the DIP Facility Documents and such agreements, certificates,
instruments, guaranties, notices and any and all other documents, including, without limitation,
any amendments to any DIP Facility Documents (collectively, the “Adequate Protection
Documents”), (ii) such other instruments, certificates, notices, assignments and documents as may
be reasonably requested by the DIP Agent and (iii) such forms of deposit, account control
agreements, officer’s certificates and compliance certificates as may be required by the DIP
Facility Documents or any other Adequate Protection Document;

       RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to fix the
terms of and to enter into, execute, file or deliver security, mortgage, pledge or other collateral
agreements, documents, instruments, arrangements or statements, including, but not limited to,
such financing statements or comparable documents required under the Uniform Commercial
Code, the applicable personal property lien legislation in the relevant Canadian jurisdictions or
comparable law as adopted in the relevant jurisdictions, and to make any and all expenditures, to
incur any and all expenses, and to pay any and all required fees or taxes, as may be necessary,



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appropriate or advisable to create or perfect security interests in favor of the secured parties under
the DIP Facility, substantially on the terms described in the DIP Facility Documents;

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to take all
such further actions, including, without limitation, to pay or approve the payment of adequate
protection, appropriate fees and expenses payable in connection with the Adequate Protection
Transactions and appropriate fees and expenses incurred by or on behalf of such Company in
connection with the foregoing resolutions, in accordance with the terms of the Adequate Protection
Documents, which shall in his or her sole judgment be necessary, proper or advisable to perform
any of such Company’s obligations under or in connection with any of the Adequate Protection
Documents and the transactions contemplated therein and to carry out fully the intent of the
foregoing resolutions; and

        RESOLVED FURTHER, that each Governing Body, based on the information presented
to the Governing Bodies by, and the recommendations of, the management and the financial and
legal advisors of the Companies, has determined that it is advisable and in the best interests of the
Companies and their respective stakeholders, creditors, and other parties in interest to obtain the
benefits from the use of cash collateral (as such term is defined in Bankruptcy Code section
363(a)), which is security for certain of the Companies’ prepetition secured lenders, on the terms
set forth in the order approving the DIP Facility.

CONTINUATION OF SECURITIZATION FACILITIES AND AMENDMENTS AND/OR
       WAIVERS OF SECURITIZATION TRANSACTION DOCUMENTS

        NOW, THEREFORE, BE IT RESOLVED, that, subject to approval by the Bankruptcy
Court, the Authorized Persons are, and each of them hereby is, authorized, empowered and directed
on behalf of, and in the name of, the Companies to continue the Securitization Facilities in the
ordinary course of business, including, without limitation, (i) continuing selling, pursuant to the
applicable Securitization Transaction Documents and free and clear of any and all liens, claims,
charges, interests or encumbrances, certain loan receivables and related rights and interests (the
“Receivables”) to the respective counterparties thereto, in accordance with and pursuant to the
respective Securitization Transaction Documents, (ii) continue servicing and collecting the
Receivables pursuant to the respective applicable Securitization Transaction Documents and (iii)
CURO continuing to guarantee, pursuant to the respective applicable Securitization Transaction
Documents, the obligations of the Companies and the Company subsidiaries party thereto under
the Securitization Transaction Documents to which they are a party;

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the Companies to cause and
direct each of the respective SPV Entities to perform or continue to perform under each of the
Securitization Transaction Documents to which such SPV Entity is a party; and

        RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, the applicable Companies,
to take such actions as in his or her reasonable discretion is determined to be necessary, desirable



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or appropriate with respect to waivers and/or amendments to the Securitization Transaction
Documents, including to fix the terms of any such waiver and/or amendment, to solicit, enter into,
execute, file or deliver any such waiver and/or amendment in connection with the Restructuring
Transactions and the Chapter 11 Cases, and to perform the transactions in connection with any
such waiver and/or amendment, in each case solely to the extent permitted or not prohibited by the
terms of the Operating Agreements or the Securitization Transaction Documents.

                             RETENTION OF PROFESSIONALS

        RESOLVED FURTHER, that the employment by the applicable Companies of, and the
execution by the applicable Companies of appropriate retention agreements with, KS and Akin to
represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
take any and all actions to advance such Company’s rights and obligations, including filing any
petitions, schedules, motions, objections, replies, applications, pleadings, lists, documents and
other papers and conducting any sales process on behalf of each Company and in connection
therewith, be, and hereby are, ratified, approved and adopted in all respects, and the payment of
appropriate retainers to, and the filing of an appropriate application for authority to retain in
accordance with applicable law, KS and Akin by any of the Authorized Persons on behalf of the
applicable Companies, with power of delegation, be, and hereby are, ratified, approved and
adopted in all respects;

        RESOLVED FURTHER, that the employment by the applicable Companies of, and the
execution by the applicable Companies of appropriate retention agreements with, Cassels as
Canadian bankruptcy counsel to provide Canadian legal advice to the Companies and the Foreign
Representative, to represent and assist each Company and the Foreign Representative in carrying
out its duties under the CCAA and the Canadian Recognition Proceedings (as applicable), and to
take any and all actions to advance the Foreign Representative’s and each such Company’s rights
and obligations, including filing any petitions, schedules, motions, objections, replies,
applications, pleadings, lists, documents and other papers and conducting any sales process on
behalf of each Company and in connection therewith, be, and hereby are, ratified, approved and
adopted in all respects, and the payment of appropriate retainers to, and, if required, the filing of
an appropriate application for authority to retain in accordance with applicable law, Cassels by any
of the Authorized Persons on behalf of the applicable Companies, with power of delegation, be,
and hereby are, ratified, approved and adopted in all respects;

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to pay the fees and expenses of FTI Consulting Canada Inc., as the
proposed Canadian Court appointed Information Officer in the Canadian Recognition Proceedings,
and its counsel, Bennett Jones LLP, in connection with the Canadian Recognition Proceedings and,
as applicable, on such terms and conditions as the Canadian Court shall subsequently approve;

        RESOLVED FURTHER, that the employment by the applicable Companies of, and the
execution by the applicable Companies of appropriate retention agreements with, Oppenheimer as
investment banker to represent and assist each Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance such Company’s rights and
obligations, be, and hereby are, ratified, approved and adopted in all respects, and the payment of



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appropriate retainers to, and the filing of an appropriate application for authority to retain in
accordance with applicable law, Oppenheimer by any of the Authorized Persons on behalf of the
applicable Companies, with power of delegation, be, and hereby are, ratified, approved and
adopted in all respects;

        RESOLVED FURTHER, that the employment by the applicable Companies of, and the
execution by the applicable Companies of appropriate retention agreements with, Epiq Corporate
Restructuring, LLC (“Epiq”) as claims, noticing and solicitation agent to provide consulting
services to each Company, including, but not limited to, noticing, claims management and
reconciliation, plan solicitation, balloting, disbursements and assisting with the preparation of each
Company’s schedules of assets and liabilities and a statement of financial affairs and any other
services agreed upon by the parties relating to each Company’s duties under the Bankruptcy Code
and in connection therewith, be, and hereby are, ratified, approved and adopted in all respects, and
the payment of appropriate retainers to, and the filing of an appropriate application for authority
to retain in accordance with applicable law, Epiq by any of the Authorized Persons on behalf of
the applicable Companies, with power of delegation, be, and hereby are, ratified, approved and
adopted in all respects;

       RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is,
authorized and directed to employ any other professionals to assist each Company in carrying out
the purposes of these resolutions and its duties under the Bankruptcy Code and in connection
therewith, as applicable, each of the Authorized Persons on behalf of the applicable Companies,
with power of delegation, is hereby authorized and directed on behalf of the applicable Companies
to execute appropriate retention agreements, pay appropriate retainers and to cause to be filed an
appropriate application for authority to retain the services of any other professionals as necessary;
and

        RESOLVED FURTHER, that each of the Authorized Persons be, and hereby is, with
power of delegation, authorized, empowered and directed on behalf of the applicable Companies
to execute and file all petitions, schedules, motions, objections, replies, applications, pleadings,
lists and other papers and, in connection therewith, to employ and retain all assistance by legal
counsel, accountants, investment bankers, financial advisors, restructuring advisors and other
professionals and to take and perform any and all further acts and deeds that each of the Authorized
Persons deems necessary, appropriate, or desirable in connection with each Company’s Chapter
11 Case or the Canadian Recognition Proceedings, with a view to the successful prosecution of the
applicable proceeding, and cause to be executed and filed appropriate applications with the
Bankruptcy Court or the Canadian Court for authority to retain the services of any other
professionals, as necessary.

                     NYSE DELISTING AND SEC DEREGISTRATION

         WHEREAS, CURO’s common stock, par value $0.001 per share (the “Common Stock”),
is listed on the New York Stock Exchange (the “NYSE”);

      WHEREAS, the Common Stock is registered under Section 12(b) of the Securities
Exchange Act of 1934, as amended (the “Exchange Act”), subjecting CURO to a reporting



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obligation under Section 13(a) of the Exchange Act;

        WHEREAS, CURO has an effective Registration Statement on Form S-8 with respect to
its 2017 Incentive Plan filed on December 7, 2017 (Registration No. 333-221945) (the “Original
Form S-8”) and an additional effective Registration Statement on Form S-8 with respect to its
2017 Incentive Plan filed on June 17, 2021, as amended on June 29, 2021 (Registration No. 333-
257167) (the “Additional Form S-8” and, together with the Original Form S-8, the “Forms S-8”),
which Registration Statements may also subject CURO to a reporting obligation pursuant to
Section 15(d) of the Exchange Act;

        WHEREAS, (i) on October 16, 2023, CURO received notice from the NYSE that CURO
was no longer in compliance with the NYSE continued listing standard set forth in Section 802.01B
of the NYSE’s Listed Company Manual due to the fact that the Company’s average global market
capitalization over a consecutive 30 trading-day period was less than $50 million and, at the same
time, its stockholders’ equity was less than $50 million and a failure to regain compliance with
such standard within eighteen months of receiving the notice would result in the initiation of NYSE
suspension and delisting procedures; and (ii) on October 27, 2023, CURO received notice from
the NYSE that CURO was no longer in compliance with the NYSE continued listing standard set
forth in Section 802.01C of the NYSE’s Listed Company Manual due to the fact that the average
closing price of the Common Stock, over the prior 30 consecutive trading days was below $1.00
per share and a failure to regain compliance with such standard within six months of receiving the
notice would result in the initiation of NYSE suspension and delisting procedures;

        WHEREAS, the Governing Body of CURO has taken due and careful consideration of all
of the facts and circumstances, including, but not limited to, (i) Holding’s current status as an
Exchange Act reporting company; (ii) the anticipated filing of petitions for the Chapter 11 Cases
(as defined above); (iii) the potential need for CURO to access the public markets for capital and
CURO’s potential ability to successfully access such markets; (iv) the administrative, legal and
audit costs associated with compliance with Exchange Act reporting obligations; (v) the increased
flexibility and time for management to focus on the day to day operations of CURO’s business
instead of Exchange Act reporting obligations and (vi) the cost associated with compliance with
the Sarbanes-Oxley Act of 2002;

       WHEREAS, CURO had fewer than 300 holders of record of its Common Stock at the
beginning of its most recent fiscal year; and

        WHEREAS, the Governing Body of CURO, upon the advice of the Companies’ advisors
and after due and careful consideration of all of the facts and circumstances, has determined that
it is advisable and in the best interests of CURO and its respective stakeholders, creditors, and
other parties in interest to: (i) withdraw the Common Stock from their NYSE listing (the
“Delisting”); (ii) terminate the registration of the Common Stock under Section 12(b) of the
Exchange Act, which would terminate CURO’s obligation to file reports pursuant to Section 13(a)
of the Exchange Act (the “Deregistration”) and (iii) suspend CURO’s obligation to file reports
pursuant to Section 15(d) of the Exchange Act (the “Suspension”).

       NOW, THEREFORE, BE IT RESOLVED, that the Governing Body of CURO does



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hereby in all respects approve, adopt, ratify and confirm the Delisting, the Deregistration and the
Suspension; and

         RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized, empowered and directed on behalf of, and in the name of, CURO to execute, certify,
verify, acknowledge, deliver, accept, file, and record all reports, agreements, notifications,
schedules, statements, documents, press releases and information with NYSE, the United States
Securities and Exchange Commission (the “SEC”) and as otherwise required by the rules of NYSE
and the SEC, in each case, in connection with, or that are necessary, appropriate or desirable to
effect, the Delisting, Deregistration, and Suspension, including, but not limited to: (i) delivering
notice to NYSE of CURO’s intention to delist the Common Stock from NYSE; (ii) publishing a
press release of CURO’s intention to delist the Common Stock from NYSE and (iii) filing with the
SEC (A) post-effective amendments to the Forms S-8 to remove from registration under the
Securities Act of 1933, as amended, all remaining unsold Common Stock covered thereby; (B) a
Form 25 to delist the shares of Common Stock from trading on NYSE and to terminate the
registration of the Common Stock under Section 12(b) of the Exchange Act, to the extent NYSE
has not already filed a Form 25 with respect to CURO’s Common Stock; (C) a Form 15 to notify
the SEC of the suspension of CURO’s obligation to file reports pursuant to Section 15(d) of the
Exchange Act and (D) such Current Reports on Form 8-K as are necessary, appropriate or desirable
in connection with the foregoing.

                                    GENERAL AUTHORITY

       RESOLVED FURTHER, that the Authorized Persons are, and each of them hereby is,
authorized and directed to take such further steps and execute and deliver such further documents,
instruments, agreements, consents and filings as such officers, with the advice of counsel, may
deem necessary or desirable to carry out any transactions contemplated by the above resolutions;

        RESOLVED FURTHER, that the authority conferred upon any Authorized Person by
these resolutions are in addition to, and shall in no way limit, such other authority as such
Authorized Person may have with respect to the subject matter of the foregoing resolutions, and in
addition to the specific authorizations heretofore conferred upon the Authorized Persons, each of
the Authorized Persons (and their designees and delegates) be, and hereby is, authorized and
empowered, in the name of and on behalf of each Company, to take or cause to be taken any and
all such other and further action, and to execute, acknowledge, deliver, file and/or record any and
all such agreements, certificates, instruments and other documents and to pay all expenses,
including but not limited to any and all required fees or taxes, in each case as in such Authorized
Person’s judgment, shall be necessary, appropriate or desirable in order to fully carry out the intent
and accomplish the purposes of the resolutions adopted herein;

        RESOLVED FURTHER, that any and all acts, transactions, agreements or certificates
previously signed on behalf of each Company by any Authorized Officer in connection with or
furtherance of the foregoing resolutions that are consistent with the foregoing resolutions be, and
hereby are, in all respects approved, adopted, confirmed and ratified in all respects as the true acts
and deeds of such Company, with the same force and effect as if each such act, transaction,
agreement or certificate had been specifically authorized in advance by resolution of the Governing



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Body of such Company and such officer(s) did execute the same;

        RESOLVED FURTHER, that the omission from these resolutions of any agreement or
other arrangement contemplated by any of the agreements described in the foregoing resolutions
or any action to be taken in accordance with any requirement of any of the agreements described
in the foregoing resolutions shall in no manner derogate from the authority of any Authorized
Person to take all actions necessary, desirable, advisable or appropriate to consummate, effectuate,
carry out or further the matters contemplated by and the intent and purposes of the foregoing
resolutions;

        RESOLVED FURTHER, that if any resolution contained herein shall be adjudicated by
a court of competent jurisdiction to be invalid, prohibited or unenforceable for any reason, then, to
the greatest extent permitted by applicable law, such resolution, solely with respect to such
jurisdiction, shall be ineffective, without affecting the validity or enforceability of any other
resolution in such jurisdiction and without affecting the validity or enforceability of any resolution
in any other jurisdiction;

        RESOLVED FURTHER, that the Authorized Persons of each Company are, and each of
them hereby is, authorized, empowered and directed to certify and furnish such copies of these
resolutions and such statements as to the incumbency of such Company’s officers, under seal if
necessary, as may be requested, and any person receiving such certified copy is and shall be
authorized to rely upon the contents thereof;

       RESOLVED FURTHER, that this written consent may be executed in multiple
counterparts, all of which shall be considered one and the same consent and shall become effective
when signed by a majority of the members, all of the directors, a majority of the managers or the
general partner, as applicable, of the applicable Governing Bodies; and

        RESOLVED FURTHER, that this consent may be executed and delivered by means of
facsimile, telecopy or other electronic transmission (including email of a “pdf” signature), this
consent shall be treated in all manners and respects and for all purposes as an original consent and
shall be considered to have the same binding legal effect as if it were the original signed version
thereof delivered in person.



                                [SIGNATURE PAGES FOLLOW]




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        IN WITNESS WHEREOF, each undersigned Governing Body has duly executed this
written consent as of the date first written above.


                                      BOARD OF DIRECTORS:
                                      CURO GROUP HOLDINGS CORP.


                                                    ____________________________________
                                                    Douglas D. Clark


                                                    ____________________________________
                                                    Chadwick Faulkner


                                                    ____________________________________
                                                    Andrew Frawley


                                                    ____________________________________
                                                    Robert Hurzeler


                                                    ____________________________________
                                                    David Kirchheimer


                                                    ____________________________________
                                                    Christopher Masto


                                                    ____________________________________
                                                    Gillian Van Schaick


                                                    ____________________________________
                                                    Issac Vaughn




                   [Signature Page to Written Consent of the Governing Bodies]
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                              BOARD OF DIRECTORS:
                              CURO FINANCIAL TECHNOLOGIES CORP.
                              CURO INTERMEDIATE HOLDINGS CORP.
                              SOUTHERNCO, INC.
                              HEIGHTS FINANCE HOLDING CO.
                              SOUTHERN FINANCE OF SOUTH CAROLINA,
                              INC.
                              SOUTHERN FINANCE OF TENNESSEE, INC.
                              COVINGTON CREDIT OF ALABAMA, INC.
                              QUICK CREDIT CORPORATION
                              COVINGTON CREDIT, INC.
                              COVINGTON CREDIT OF GEORGIA, INC.
                              HEIGHTS FINANCE CORPORATION



                                            ____________________________________
                                            Douglas D. Clark


                                            ____________________________________
                                            Rebecca Fox


                                            ____________________________________
                                            Gary L. Fulk




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                              BOARD OF DIRECTORS:
                              CURO FINANCIAL TECHNOLOGIES CORP.
                              CURO INTERMEDIATE HOLDINGS CORP.
                              SOUTHERNCO, INC.
                              HEIGHTS FINANCE HOLDING CO.
                              SOUTHERN FINANCE OF SOUTH CAROLINA,
                              INC.
                              SOUTHERN FINANCE OF TENNESSEE, INC.
                              COVINGTON CREDIT OF ALABAMA, INC.
                              QUICK CREDIT CORPORATION
                              COVINGTON CREDIT, INC.
                              COVINGTON CREDIT OF GEORGIA, INC.
                              HEIGHTS FINANCE CORPORATION



                                            ____________________________________
                                            Douglas D. Clark


                                            ____________________________________
                                            Rebecca Fox


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                                            Gary L. Fulk




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                              BOARD OF DIRECTORS:
                              CURO FINANCIAL TECHNOLOGIES CORP.
                              CURO INTERMEDIATE HOLDINGS CORP.
                              SOUTHERNCO, INC.
                              HEIGHTS FINANCE HOLDING CO.
                              SOUTHERN FINANCE OF SOUTH CAROLINA,
                              INC.
                              SOUTHERN FINANCE OF TENNESSEE, INC.
                              COVINGTON CREDIT OF ALABAMA, INC.
                              QUICK CREDIT CORPORATION
                              COVINGTON CREDIT, INC.
                              COVINGTON CREDIT OF GEORGIA, INC.
                              HEIGHTS FINANCE CORPORATION



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                                            Douglas D. Clark


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                                            Rebecca Fox


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                                            Gary L. Fulk




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                              BOARD OF MANAGERS:
                              CURO CREDIT, LLC
                              ATTAIN FINANCE, LLC



                                            ____________________________________
                                            Stephen Foster


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                                            Gary L. Fulk




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                              BOARD OF MANAGERS:
                              CURO CREDIT, LLC
                              ATTAIN FINANCE, LLC



                                            ____________________________________
                                            Stephen Foster


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                                            Gary L. Fulk




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                              BOARD OF MANAGERS:
                              CURO MANAGEMENT, LLC



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                                            Douglas D. Clark


                                            ____________________________________
                                            Stephen Foster




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                              BOARD OF MANAGERS:
                              CURO MANAGEMENT, LLC



                                            ____________________________________
                                            Douglas D. Clark


                                            ____________________________________
                                            Stephen Foster




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                              BOARD OF DIRECTORS:
                              AD ASTRA RECOVERY SERVICES, INC.



                                            ____________________________________
                                            Stephen Foster


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                                            Gary L. Fulk




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                              BOARD OF DIRECTORS:
                              AD ASTRA RECOVERY SERVICES, INC.



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                                            Stephen Foster


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                                            Gary L. Fulk




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                              BOARD OF DIRECTORS:
                              COVINGTON CREDIT OF TEXAS, INC.



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                                            Douglas D. Clark


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                                            Stephen Foster


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                                            Rebecca Fox


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                                            Gary L. Fulk




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                              BOARD OF DIRECTORS:
                              COVINGTON CREDIT OF TEXAS, INC.



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                                            Douglas D. Clark


                                            ____________________________________
                                            Stephen Foster


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                                            Rebecca Fox


                                            ____________________________________
                                            Gary L. Fulk




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                              BOARD OF DIRECTORS:
                              COVINGTON CREDIT OF TEXAS, INC.



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                                            Douglas D. Clark


                                            ____________________________________
                                            Stephen Foster


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                                            Rebecca Fox


                                            ____________________________________
                                            Gary L. Fulk




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                              BOARD OF DIRECTORS:
                              COVINGTON CREDIT OF TEXAS, INC.



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                                            Douglas D. Clark


                                            ____________________________________
                                            Stephen Foster


                                            ____________________________________
                                            Rebecca Fox


                                            ____________________________________
                                            Gary L. Fulk




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                              SOLE DIRECTOR:
                              HEIGHTS FINANCE CORPORATION



                                            ____________________________________
                                            Douglas D. Clark




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                              CURO INTERMEDIATE HOLDINGS CORP.,
                              as sole member of
                              CURO CREDIT, LLC
                              ATTAIN FINANCE, LLC
                              CURO MANAGEMENT, LLC
                              CURO COLLATERAL SUB, LLC
                              CURO VENTURES, LLC
                              ENNOBLE FINANCE, LLC




                              _____________________________
                              Name: Douglas D. Clark
                              Title: President




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                              CURO INTERMEDIATE HOLDINGS CORP.,
                              as sole manager of
                              FIRST HERITAGE CREDIT, LLC




                              _____________________________
                              Name: Douglas D. Clark
                              Title: President




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                              FIRST HERITAGE CREDIT, LLC,
                              as sole manager of
                              FIRST HERITAGE CREDIT OF ALABAMA, LLC
                              FIRST HERITAGE CREDIT OF LOUISIANA, LLC
                              FIRST HERITAGE CREDIT OF MISSISSIPPI,
                              LLC
                              FIRST HERITAGE CREDIT OF SOUTH
                              CAROLINA, LLC
                              FIRST HERITAGE CREDIT OF TENNESSEE,
                              LLC




                              _____________________________
                              Name: Douglas D. Clark
                              Title: President




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                              BOARD OF DIRECTORS:
                              LENDDIRECT CORP.
                              CURO CANADA CORP.



                                            ____________________________________
                                            Gary L. Fulk


                                            ____________________________________
                                            Alberto Luis




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                              BOARD OF DIRECTORS:
                              LENDDIRECT CORP.
                              CURO CANADA CORP.



                                            ____________________________________
                                            Gary L. Fulk


                                            ____________________________________
                                            Alberto Luis




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                                          Schedule I

                                          Companies

1. CURO Group Holdings Corp.

2. Curo Financial Technologies Corp.

3. Curo Intermediate Holdings Corp.

4. Curo Management, LLC

5. Curo Collateral Sub, LLC

6. CURO Ventures, LLC

7. CURO Credit, LLC

8. Ennoble Finance, LLC

9. Ad Astra Recovery Services, Inc.

10. Attain Finance, LLC

11. First Heritage Credit, LLC

12. First Heritage Credit of Alabama, LLC

13. First Heritage Credit of Louisiana, LLC

14. First Heritage Credit of Mississippi, LLC

15. First Heritage Credit of South Carolina, LLC

16. First Heritage Credit of Tennessee, LLC

17. SouthernCo, Inc.

18. Heights Finance Holding Co.

19. Southern Finance of South Carolina, Inc.

20. Southern Finance of Tennessee, Inc.

21. Covington Credit of Alabama, Inc.

22. Quick Credit Corporation
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23. Covington Credit, Inc.

24. Covington Credit of Georgia, Inc.

25. Covington Credit of Texas, Inc.

26. Heights Finance Corporation, an Illinois corporation

27. Heights Finance Corporation, a Tennessee corporation

28. LendDirect Corp.

29. Curo Canada Corp.
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                       [Exhibits Omitted]
